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  15 JOEY CRUZ, RAFAEL MEJIA, MICHAEL RUSSELL, RAUL VERSALES,
     ARLIN KAHAN, and TONY IMBRENDA
  16
  17                            UNITED STATES DISTRICT COURT
  18              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19
       VANESSA BRYANT,                                 CASE NO. 2:20-cv-09582-JFW-E
  20                                                   Consolidated with 2:20-cv-10844-JFW-
  21                   Plaintiff,                      E)

  22              v.                                   DEFENDANTS’ FINAL TRIAL
                                                       WITNESS LIST
  23 COUNTY OF LOS ANGELES, et al.,
                                                       Assigned to Hon. John F. Walter and
  24                   Defendants.                     Magistrate Judge Charles F. Eick
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       572712.3
                                    DEFENDANTS’ FINAL TRIAL WITNESS LIST
Case 2:20-cv-09582-JFW-E Document 372 Filed 08/05/22 Page 2 of 5 Page ID #:31284




   1
       CHRISTOPHER L. CHESTER,
   2
                        PLAINTIFF,
   3
                  vs.
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   5 COUNTY OF LOS ANGELES, et al.,
   6                    Defendants.
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                                  DEFENDANTS’ FINAL TRIAL WITNESS LIST
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   1              Pursuant to the Court’s Civil Trial Order (Dkt. 280) and its Order at the July
   2 26, 2022 pretrial conference, Defendants County of Los Angeles, Los Angeles
   3 County Sheriff’s Department, and Los Angeles County Fire Department hereby
   4 submit the following final trial witness list.
   5              Plaintiffs have identified the following witnesses that they plan to call to
   6 testify at trial in their case-in-chief:
   7              1.    Rob Pelinka (In Person)
   8              2.    LASD Reserve Deputy David Katz (In Person)
   9              3.    DMEC Emily Tauscher (In Person)
  10              4.    Victor Gutierrez (In Person)
  11              5.    Ralph Mendez, Jr. (In Person)
  12              6.    Luella Weireter (In Person)
  13              7.    Adam Bercovici (In Person)
  14              8.    LASD Deputy Doug Johnson (In Person)
  15              9.    Kelli Beard (In Person)1
  16              10.   LACFD Former Captain Brian Jordan (In Person)
  17              11.   LASD Deputy Raul Versales (In Person)
  18              12.   LASD Deputy Rafael Mejia (In Person)
  19              13.   LASD Deputy Joey Cruz (In Person)
  20              14.   LASD Deputy Michael Russell (In Person)
  21              15.   LASD Deputy Ben Sanchez (In Person)
  22              16.   LASD Detective Scott Miller (In Person)
  23              17.   LASD Deputy Ruby Cable (In Person)
  24              18.   LASD Deputy Nicholas Bonelli (In Person)
  25              19.   LASD Captain Matthew Vander Horck (In Person)
  26              20.   LASD Lieutenant Hector Mancinas (In Person)
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  28       Defendants have objected to Ms. Beard testifying.

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                                    DEFENDANTS’ FINAL TRIAL WITNESS LIST
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   1              21.   LASD Commander Jorge Valdez (In Person)
   2              22.   LASD Commander William Jaeger (In Person)
   3              23.   David Freskos (In Person)
   4              24.   Thomas Pikor (In Person)2
   5              25.   LACFD Firefighter Specialist Tony Imbrenda (In Person)
   6              26.   LAFD Fire Captain Erik Scott (In Person)
   7              27.   LACFD Captain Sky Cornell (In Person)3
   8              28.   LACFD Fire Captain Arlin Kahan (In Person)
   9              29.   LACFD Acting Fire Chief Anthony Marrone (In Person)
  10              30.   LACFD Deputy Fire Chief William McCloud (In Person)
  11              31.   Jessica Wells (In Person)4
  12              32.   Paul Westhead, Jr. (In Person)
  13              33.   Plaintiff Christopher Chester (In Person)
  14              34.   Kristin Pelinka (In Person)
  15              35.   Sharia Washington (In Person)
  16              36.   Plaintiff Vanessa Bryant (In Person)
  17              Defendants will conduct their examination of the above witnesses at the time
  18 Plaintiffs call them in their case-in-chief. If Plaintiffs choose not to call any of the
  19 County witnesses listed above, Defendants reserve the right to call them in their
  20 case-in-chief.
  21              In addition to the witnesses listed above, Defendants expect to call the
  22
       2
  23  Defendants object to Mr. Pikor testifying at trial. He is not a percipient witness.
     Mr. Pikor was also never disclosed as an expert witness pursuant to Federal Rule of
  24 Civil Procedure 26(a)(2) by Plaintiff.
  25   3
      Defendants object to Plaintiffs calling Mr. Cornel to testify in their case since he
  26 was not identified on their witness list. (See Dkt. 233.)
  27   4
      Defendants have filed a motion to exclude Ms. Wells from testifying at trial. (See
  28 Dkt. 245.)
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                                    DEFENDANTS’ FINAL TRIAL WITNESS LIST
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   1 following witnesses to testify at trial in the following order:
   2              1.    LASD Sheriff Alex Villanueva
   3              2.    DMEC Kristina McGuire
   4              3.    LASD Captain Justin Diez
   5              4.    LASD Deputy Chris Jauregui
   6              5.    LASD Sergeant Travis Kelly
   7              6.    LASD Chief Dennis Kneer
   8              7.    LASD Commander Christopher Reed
   9              8.    LASD Captain William Jaeger
  10              9.    LASD Sergeant Robert Boese
  11              10.   LASD Captain Mark Flores
  12              11.   LASD Commander Scott Johnson
  13              12.   LACFD Battalion Chief Andrew Smith
  14              13.   LACFD Risk Manager Julia Kim
  15              14.   Justin Price, Kroll
  16              15.   Dr. Marc Cohen
  17              16.   LACFD Deputy Fire Chief Dennis Breshears
  18
  19 DATED: August 5, 2022                     Respectfully Submitted,
  20
                                               MILLER BARONDESS, LLP
  21
                                               By:         /s/ Mira Hashmall
  22
                                                     MIRA HASHMALL
  23                                                 Attorneys for Defendants
  24                                                 COUNTY OF LOS ANGELES, LOS
                                                     ANGELES COUNTY FIRE
  25                                                 DEPARTMENT, JOEY CRUZ, RAFAEL
  26                                                 MEJIA, MICHAEL RUSSELL RAUL
                                                     VERSALES, ARLIN KAHAN, and
  27                                                 TONY IMBRENDA
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                                    DEFENDANTS’ FINAL TRIAL WITNESS LIST
